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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

PHILLIP E MANNEBACH,                                  )
                                                      )
                              Petitioner,             )
                                                      )
                         v.                           )      No. 1:18-cv-01824-SEB-MJD
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
                              Respondent.             )

    Entry Denying Motion for Production of Record at Government Expense, Motion to
                  Appoint Counsel, and Motion for Extension of Time
       The petitioner’s motion for production of record at government expense, dkt. [6], is denied.

       The petitioner’s motion for counsel, dkt. [7], is denied as moot. Counsel was appointed to

represent the petitioner on June 18, 2018.

       The petitioner’s motion for extension of time to file a supplement § 2255 brief, dkt. [5], is

denied. Counsel appeared for the petitioner on July 2, 2018, and has through August 30, 2018, to

file a brief in support of the petitioner’s § 2255 motion.

       IT IS SO ORDERED.


        7/19/2018
Date:____________                                _______________________________
                                                  SARAH EVANS BARKER, JUDGE
                                                  United States District Court
                                                  Southern District of Indiana
Distribution:

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06326-040
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